Case 1:23-cr-00258-MC   Document 1   Filed 08/03/23   Page 1 of 2
         Case 1:23-cr-00258-MC             Document 1   Filed 08/03/23          Page 2 of 2




                         CRIMINAL FORFEITURE ALLEGATION

       Upon conviction of the offense listed above, defendant REUBEN PIDLLIP HARVEY

shall forfeit to the United States pursuant to 18 U.S.C. §§ 2253, 2254 and 2428 any and all

property used or intended to be used in any manner or part to conunit or to promote the

commission of said violations.

       Dated: August   ~:"""3'-------' 2023.


                                                            tisi Gra11_~:.Uijfforepers,m
                                                                   -   _____ ___,.._ ~ .... ~u>..J.L"t




Presented by:

NATALIE K. WIGHT
United S ates Attorney



       C.BRASSELL
Assistant United States Attorney




Indictment                                                                                               Page2
